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                                            W)QK~~~-4.~:
                        MINERAL CONVEYANCE AND UNDERGROUND GAS
                                STORAGE LEASE AGREEMENT

      THlS MINERAL CONVEYANCE AND UNDERGROUND GAS STORAGE LEASE
AGREEMENT, made and entered Into this ,2~- day of ~«
                                                               ~,
                                                          , 1987,
 by and between            i'f:94£...t: z:   J. l:u.t..t. lfK-4> c/nffe-v' z1,1,r.,t   b"-t< .ee<../4::




 hereinafter, referred to collectively and In the singular as "Crantor 11 and TEXAS GAS
 TRANSMISSION CORPORATION, a Delaware corporation, having an office in Owens-
 boro, Kentucky, hereinafter called "Grantee";
                                                WITNESSETH:
          WHEREAS, Grantor Is the owner of the land described in Exhibit "'A", att-
 ached hereto and made a part hereof, which land is located in an area known as the
 Barnsley Gas Field, Hopkins County,                   ck , and from which gas has been pro-
 duce                   rom the Bethel Formation; and
          WHEREAS, the Grantee is the owner of an interstate gas pipeline system and
 in connection with Its operation of said pipeline system It desl res to store natural gas
 underground in the Bethel Formation and In other formations and ho;1"ii;;';--1;etween            '
 the top of the Lower Paint Creek Limestone Formation and the base of the Lower
----------~--
 Renault Limestone Formation underlying the lands described In Exhibit "A";
                                          NOW, THEREFORE:
 Section 1 - Ml NERAL CONVEYANCE
          1. 1     Crantor, for and in consideration of the sum of
                               .-.o_...,                        o•
 __%,~-..:;«~===::::::::::::::::-__./:./_'/_
                                          __ Dollars {
                                       ,o_,..              / 0 --             ) • cash in hand
 paid, and other good and valuable consideration, the receipt and sufficiency of which
 Is hereby acknowledged, has granted, bargained, sold and conveyed and by these
 presents does grant, bargain, sell and convey unto Grantee, its successors and
 assigns, an undivided          -             rv,1,.G - - - -         Interest In all the oil, gas
 and other minerals, in. or that are a part of, or that may be produced from the Bethel
 Formation and other formations and horizons between the top of the Lower Paint Creek
 Limestone Formation and the base of the Lower Renault Limestone Formation underlying
 the surface of the land described In Exhibit "A" attached hereto and made a part here-
 of as if repeated herein at length, reserving unto Crantor, its successors and assigns,
 a royalty Interest of one-eighth ( 1 /8) part of all oil which may be produced and saved
 by Grantee from the Bethel Formation underlying the lands described In the attached
 Exhibit "A", delivery of such oil to be made to the Grantor at the wells or to the
 credit of Crantor In the pipeline to which any wells may be connected.
           In respect to the royalty Interest reserved by the Grantor, it Is expressly
 understood that the Grantee shall not be required or under any covenant or obliga-
 tion, either express or implied, to drill or operate said Bethel Formation for the pro-
 duction of oil and that all drilling operations and development for oil in said Bethel
 Formation. before and after discovery, shall be solely at the Grantee's option and
 election.
           If Grantor owns a less Interest in the land covered by this conveyance than
  the entire undivided fee simple mineral estate therein, then whether or not such less
  Interest is referred to or described herein the royalty reserved herein shalt be con-
  sidered as being reserved \f>nly in the proportion which Grantor's mineral interest
                                                                                   ~
                                                                                       ~-/~
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bears to the whole and undivided mineral fee.
        TO HAVE AND TO HOLD the property, rights, Interest and privileges des-
cribed In this Section 1 , togethec .. )Yl~_h, all ,-.and .. singular, the rights and appurten-
ances thereunto in anywise belong unto the said Grantee, its successors and assfgns
wlth covenant of GENERAL WARRANTY.
Section 11 - i,JNDERGROUND GAS STORAGE LEASE AGREEMEN1:
        2. 1     Grantor, for and In consideration of the sum of
   -~.,. ~                                      D~,.O                   /0~0            ) , cash In hand
_ __.~
   ......-...:.."':-----=========::::=::::::::__.~~"-'"'-- Dollars ($
paid and other good and valuable considerations, the receipt and sufficiency of which
is hereby acknowledged, hereby grants, demises, leases and lets exclusively, t
                                                                                unto
                                                                                . sm; ,-
the Grantee the exclusive right, privilege, and easeTent for a term of one ( 1} year
from the date hereof and as Jong thereafter as the annual rentals pr vi
paragraph 2.2 hereof are paid as hereinafter provided for, to inject and store gas In,
and withdraw and remove gas from the Bethel Formation and other formations and
horizons between the top of the Lower Paint Creek Limestone Formation and the base
of the Lower Renault attached hereto, (which formations underlying the surface of
said land are hereinafter called "Storage Reservoir") together with all rights Incident
to said Injection and storage and withdrawal and removal, including without limitation,
the following :
         (a)     The right to store gas in the Storage Reservoir and retain possession,
ownership and title of gas so stored as personal property;
         (bl     The right to drill, install, construct, maintain. renew, repair, re-
place and remove, from time to time, such wells, pipelines, gas transmission lines,
caslng. drips, valves, structures and other related equipment, appliances and appurt-
enances as Grantee may deem desirable, utilizing the surface of the lands described
in Exhibit "A" to the extent necessary to accomplish such purposes, notwithstanding      ..
any of· the above, Crantee shall secure in writing Grantor's approval for any well
locations prior to drllJlng any additional wells or constructing any additional above-
ground fac/fities.
         (c)     The right to have ingress and egress to, from and across the land
described in Exhibit O A", and the Storage Reservoir. and to enter upon and across
the surface of the land described Jn Exhibit "A" at any time by means of existing
r-oads, together with the right to construct and maintain roads for the purpose of
ingress and egress for Crantee's operation of the Storage Reservoir. The location of
any new roads constructed pursuant to this paragraph shall be subject to Crantors
approval.
         (d)     The right to remove from the land described in Exhibit 11 A 11 all pro-
perty placed in and on the same by Crantee, Including well casings; and to do and
perform such other acts and things as may be necessary, usual or convenient for any
and all of the foregoing purposes or as a part of and in connection with the storage
of gas· in the Storage Reservoir underlying the lands described in Exhibit "A" alone
or conjointly with other lands in the vicinity thereof.
         2. 2     The Grantee shall pay to Grantor the sum of
  ~X'r'J'. "'~          ------"%•      Dollars ($     ~O ~                 ). per year,
payable annually, commencing one ( 1) year from the date hereof, as rental for the
rights granted to the Grantee by Section 11 hereof. The Grantee may release and
surrender the rights granted by Section 11 hereof at any time by written instru-
ment duly recorded In the Office of the Hopkins County Court Cler; and in the
event of such release and surrender, the Grantee shall have the right to remove




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                                                                                           ea
Its equipment from the land described in Exhibit "A" either before or wlt.,(~~ty
(90) days after such release and surrender is made as herein provided.
           2. 3       The Grantee shall pay the Gran tor the sum of
  :z:;;-c,-,c ~ 4 E 6 ~ -             %~
                                      Dollars ($   ..3'O~ ':!Sl
                                                                       ) . £ ! ~ ~ r for
                                                                                                            \f\
                                                                                                            A        J
the first well and         ~e:-r., ~ ----------------:::....-----;:,;01>--._____,                                    I
Dollars ($        .::5,0 ~
                                .r
                                  ) per year for each additional well that may be        /                   JI  j



drilled or maintained by the Grantee on the lands described in Exhibit "A" In con-                         /,4
nection with the storage of gas.                                                  ff
        2 .4    The Grantee shall pay the Grantor for all pipelines and gas trans~:/
mission lines constructed hereafter on the land described In Exhibit "A", for the
purpose of introducing gas into, storing gas in, or removing gas from the Storage
Reservoir beneath the lands described in Exhibit "A", at the rate of One Dollar
($1. 00)   per rod.
           2. 5       The Grantee shall pay the Gran tor for damage caused by Its operations
to growing crops, fences and timber on the lands described in Exhibit A".
           2. 6       (a)      All payments provided for by this Section 11 may be made by
currency, draft, or check mailed direct to the Grantor at
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or. to the
             -----------------------------------Bank at
----------------------------------------------··
for the deposit to the credit of the Granter, which bank or Its successors is hereby
designated the Grantor's agent and shall continue as a depository for all rentals and
payments hereunder regardless of any change of ownership in the land described in
Exhibit "A".        In the event said depository bank should fail or refuse to accept tenders
made hereunder, or if It should close without a successor, or if the Grantee shall be
in doubt as to the payees entitled to receive such payments, Grantee may withhold
payments with the same effect as if tendered, until the Grantee has received written
instructions, executed and accepted by all persons appearing to the Grantee to be
interested, naming a new depository or specifying the payees and their respective
interests.        In the event Grantee should be in doubt as to the payees entitled to the
 payments hereinabove mentioned, Grantee shall give Grantor written notice specifying
 the reason for such doubt.           The notice shall be mailed to the Grantor at Grantor's
 last known address, and shall inform Crantor of the other parties appearing to the
Grantee to be interested, and the Grantor shall then furnish the Grantee proof of
the real parties in Interest.
                        Notwithstanding the provisions of paragraph 2. 6 (b) and 2. 7,
Grantee shall have the right to withhold payments provided for by this Section 11
until the Grantor furnishes the Grantee with proof, satisfactory to the Grantee, of
the real parties in interest.
                      (b)      Failure of the Grantee to make annual payments provided for
by paragraphs 2. 2 and 2. 3 hereof shall not invalidate the rights granted by this
Section 11 unless and until Grantee fails to make such payments within thirty (30)
days after having received a written request from the Grantor.                         In such requests,
 Grantor shall set forth a description of the real estate involved, the due date of the
 rental, the amount thereof, and the date of this instrument.                      Nothing in this para-
 graph 2.6 nor in this instrument shall require the Grantee to use or to continue to
 use the Storage Reservoir described herein.
           2. 7       If at any time there be as many as four (4) parties entitled to
 rentals or other payments, Grantee may withhold payments thereof unless and until
 all parties designate, In writing, in a recordable instrument to be filed with the

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Grantee, a common agent tc;> receive all payments due hereunder and to execute
division and transfer orders on behalf of said parties and their respective success-
ors in title.
         2.8     1f the Grantor owns a less interest in the land described 1n Exhibit
"A'" than the entire and undivided fee simple surface estate therein, then the rentals
and other payments or deliveries provided In Section 11 hereof shall be paid or deli-
vered to the Grantor only in the proportion which the Grantor's interest in the sur-
face bears to the whole and undivided surface fee.
         2. 9    The Grantor shall have the right. to use gas, free of cost, for dom-
estic appliances Inside one dwelling house located on the land covered by this agree-
ment, subject to and with the following specific understanding as regards said use:
                 (a)    The Grantor shall construct and maintain Its own service line
and regulator or regulators in such a manner as to prevent leakage of gas and shall
use only appliances, regulators, and other equipment lncludlng pipe, designed and
approved for the use of natural gas.
                 ( b)   The tap or connection may be made to the field pipelines of the
Grantee located on the land described In Exhibit "A" at a point to be approved by
the Grantee; however, If none of the Grantee's field pipelines are located on said
land, Grantor may have a connection on other field pipelines of the Grantee as pro-
vided above, provided; however, that the Grantor shall acquire and maintain his own
easement and permit and show satisfactory proof of such right to the Grantee.
                 (c)     No connection shall be made to the Grantee's transmission pipe-
lines.
                  (d)    The Grantee shall not be liable for any shortage or failure in
the supply of gas for the Grantor's use·. If the Grantee shall hereafter discontinue
for any reason the use of the said Storage Reservoir· or remove. any of Its field pipe-
lines and equipment from said field to which Crantor. has a service line connected,
the Grantor's right to use gas as aforesaid shall terminate. Further, If the Grantee
shall abandon, remove, or discontinue the use of any pipeline to which the Grantor
may have a connection, the Grantee shall not be held responsible for the making of a
new connection. The Crantor hereby specifically consents that the Grantee may at
any time remove its pipeline or plpellnes, and Immediately thereupon the right to use
ga-s, as set out In this paragraph 2. 9, shall terminate, provided however, that should
gas be available from another field pipeline located within the confines of the storage
field, the Granter shall have the right of connection as agreed above.

                  Ce)    The Grantee shall not be liable In any way for damages or
loss which may occur as a result of acts of the Grantor, which are caused by equip-
ment or appliances of the Grantor, it being understood the Grantor's use of said gas
shall be at Its sole risk and expense.
         2. 10   Grantee shall bury Its pipelines below plow depth.
         2.11     No well shall be drilled nearer than two hundred feet (200 1 ) to any
dwelling house or barn on the land described in Exhibit "A", without the written
consent of the owner thereof.
         2. 12    The Grantor reserves the right to drill hereafter a well or wells
through the Storage Reservoir; however, in connection with any such drilling the
Grantor, his heirs, assigns, or lessees, shall notify· the Grantee before the comm-
encement of any such well, and all reasonable precautions, and ordinary care, shall
be exercised, including the use of rotary drilling methods and the use of heavy mud,
to· protect the said Storage Reservoir from blowout or loss of gas during the drilling
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       of any such         L,,.,
                       trr>'l                  ..
                            and upon completion of such drilling, such well or wells shall
       be properly sealed, whether producing or not, by cementing to prevent loss of
                                                                                             .I

       gas or reservoir fluids· from or .....
                                          the encroachment
                                                  ,· ...
                                                           of water Into the Storage Reser-
       voir, and the Stora!;le Reservoir shall not be damaged during such dri/Jlng, or
       thereafter during any completion, production, or well stimulation operations, and
       the Grantor shall permit Grantee or its duly authorized employees or agents, but
       at Its sole risk and expense, to have access to the derrick floor of all wells which
       penetrate said Storage Reservoir for the purpose of observing and inspecting drilling
       operations insofar as they relate to the safety of Grantee's operations concerning its
       rights In and to said Storage Reservoir.
                2 .13   To use, free of cost, water produced on the land described In
       Exhibit "A" for Grantee's operations of its Storage Reservoir, except water from ponds
       of Grantor or wells drilled· by Grantor.
                2. 14   The Grantor hereby warrants and agrees to defend the title to the
       land described in Exhibit "A" and agrees that the Grantee shall have the right at
       any time to redeem for the Grantor, by payment, any mortgage, taxes, or other liens
       on said land, in the event of default of payment by the Crantor, and shall be sub-·
       rogated to the rights of the holder thereof; and Grantor agrees that any such pay-
       ments made by the Grantee for the Grantor shall be deducted from any amounts of
       money which may become due the Grantor under the terms of this agreement.
                2.1s     This agreement shall extend to and be binding upon the heirs, assi-
       gns, executors, administrators, and successors of both parties hereto, and either
       party may assign, transfer, and convey, either In whole or In part, its ownership or
       interest in the land, rights, privileges, and property covered by this agreement; but
       no change In ownership of the land described in Exhibit "A" shal~ be binding upon
       the Grantee until the Instrument conveying title thereto shall have been properly rec-
       orded in the County Court Clerk's Office and a certified copy thereof shall have been
       furnished to the Grantee.
                2. 16    Any notices or requests herein requested or permitted shall be deemed
       sufflclent as to delivery If given In writing, deposited In the United States mails,
       registered, return receipt requested, addressed to the other party hereto as follows:
       Crantor:          e-r. S , #~x. I 7'1,.,, ~_,,,,.bM6bl".I~ ,~/ ~     4.2 ¢'s,;



       Crantee:                 Texas Gas Transmission Corporation, P. O. Box 1160
                                Owensboro, Kentucky 42301

                2.17    AJJ covenants whether expressed or Implied by this agreement shall
       be subject to all federal and state laws and to all executive orders, rules or regu-
       lations of state and federal authorities. The rights created by this agreement shall
       not be terminated in whole or in part, nor Grantee held liable for any failure to per-
       form hereunder, if such failure I~ due to or is a result of any such law, order, rule
       or regulation.
                    IN TESTIMONY WHEREOF, witness the signature of the Grantor, this the
       date first hereinabove written.


   This instrument was prep11r11d by
-·-·········ck-~l('.,,.B!,,11.Nl/4.Q........••- -
          ~'iOO Frederica Street
          Owensboro, K.:11tud,(.}'


                                                               -s-
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.




    STATE OF     ~Ky
    COUNTY OF     ~d{.r
            I,   ~~#AA          W £N'.-, frn. ,/)                               , a Notary Public in and for
    the state and county aforesaid, do hereby certify that this day there appeared

    before me,     ,j?(4,s:-.Aer J     AfLL      A,NJ>     s:   b t9tvtY ~ ~


    who produced the foregoing Instrument and duly signed and acknowledged the same
    to be   WE/L act for the uses and purposes therein set forth.
            WITNESS my hand and official seal, this                 -?-~
                                                                ....:;..,,,,c;,,.;c._•.:7
                                                                                     ___
                                                                                                         ..,,,c;J:
                                                                                            day of --"7'lc.......::C-,j'A""..;;A!'~
                                                                                                                                  ✓ c...,1.
                                                                                                                                        _ _ _ __




                                                                Notary Public

    My Commission expires: __   .,&o/,. 4. ✓ 9--?.-t'


    STATE OF
    COUNTY OF

            I, - - - - - - - - - - - - - - - - - - - - - • a                     Notary Public in and for the
    state and county aforesaid, do hereby certify that this day there appeared befo-re
    me,




    who produced the foregoing instrument and duly signed and acknowledged the same
    to be _ _ _ _ _ act for the uses and purposes therein set forth.
            WITNESS my hand and official seal, this _ _ _ _ day of _ _ _ _ _ _ _ _ _ •
    19_ _




                                                                Notary Public
    My Commission expires:
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                                    EXHIBIT "A"

                                          to

          Mineral Conveyance and Storage Lease Agreement between
                       ,?;i!L<r&C cJ, HtJ..L BP cktflu.v' ML L



  "Crantor," and Texas Cas Transmission Corporation, "Grantee," dated

                                  Land Description
         All that tract or parcel of land located and situated In Hopkins County,
  Kentucky, and described as follows, to wit:


        Beginning at a fence corner ( iron pin) located on the NE corner
        of William Hill property, south side of County Road, running thence
        N 87° 20' W parallel to and with right of way of County Road 221. 50
        feet to an iron pin, thence S 20° 39 1 W, 200 feet to an iron pin,
        thence S 25° 05 1 E, 945 feet to an iron pin, thence S 36° OS' W,
        1q45 feet to L & N R.R. right of way and iron pin, thence para-
        llel with L & N R.R. right of way in a SE direction 91 O feet to
        the NW corner of Robert J. HIii and his wife Jo Ann Wyatt HIii
        property, thence N 73° 12 1 E, 412 feet to a permanent corner post
        being the NE corner of Claude Almon property, thence S 17° 30'
        E, 412 feet to County Road (Brackett Lane), thence with right of
        way and parallel to County Road ( Brackett Lane} NE 990 feet to a
        permanent corner post, thence N 19° 09' W, 265.29 feet to an iron
        pin, thence N 26° 35' W, 1624.20 feet to an iron pin; thence N
        27° 40' W, 358 feet to an iron pin, thence N 26° 54' W, 420 feet
        to an iron pin, thence N 22° 47 1 W, 491 feet to an iron pin on south
        side of County Road the beginning. This parcel of land contains
        approximately 59 acres, more or less. All mineral rights are In-
        cluded with this property unless heretofore conveyed.
        This real property was devised and bequeathed to Betty H. Beeny
        and Robert J. Hill by their father, William Hill, In equal shares and
        each became the owner of a 1 /2 undivided Interest on the date of
        his death which was December 21 1 1978. His will Is of record in
        Will Book   26 , at page       265 , In the Office of the Hopkins
        County Court Clerk.                  ,,




  It is intended to include in the foregoing description all lands and interest there-
  in contiguous to or appurtenant to the above-described lands owned or claimed
  by the Crantor, regardless of any omissions or Irregularities in the foregoing
  description.




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                                         MINERAL CONVEYANCE AND UNDERGROUND GAS
                                                 STORAGE J ... l;ASE; . ,AG.SEEMENT

                   THIS MINERAL CONVEYANCE ANO UNDERGROUND GAS STORAGE LEASE
                                                                                                                ,eP                           ,4
AGREEMENT, made and entered into this .£,3 -                                                                          day of                ~,e/L                                      ,    1987,
by and between _ _.pCe....,,..~o~o'"'-"c?~;;;ec.=.:;-r_~✓
                                                        -~~,.__.A/4'-L-.<..=~~L:;....c.A--=...IY~~::..__;;;;J,;;...::O;....L&-I-Lu.:...:;_;.A/:;_&,<....:..L.;a'~~~.,,.......d'-L-a/~c>:;_~;...c....z~~----



hereinafter referred to collectively and jn the s~gular as "Grantor" and TEXAS GAS
TRANSMISSION CORPORATION, a Delaware corporation, having an office in Owens-
boro, Kentucky, hereinafter called "Grantee";
                                             WITNESSETH:
                    WHEREAS, Grantor is the owner of the land descrlbed in Exhibit 11 A 11 , att-
ached hereto and made a part hereof, which land is located in an area known as the
Barnsley Gas Field, Hopkins County, Kentucky, and from which gas has been pro-
duced and marketed from th': ~ o r m a t i o n ; and           •
       WHEREAS, the Grantee ls Hie owner of an interstate gas pipeline system and
in connection with its operation of said pipeline system it desires to store natural gas
underground in the Bethel Formation and in other formations and horizons between
the top of the Lower Paint Creek Limestone Formation and the base of the Lower
Renault Limestone Formation underlying the lands described in Exhibit "A";
                                                                               NOW, THEREFORE:
Section 1 - Ml NERAL CONVEYANCE
        1. 1    Grantor, for and In consideration of the sum of
 ~
 __.,,-.~,;        ~              _ _ _ _ _ _ P-.
-=---=~:a..:;..•-~---------------'-.,._?_o_.-_ Dollars (
                                               / <                     ~
                                                                  ) , cash .in hand
                                                                                                                         /0         ~-0


paid, and other good and valuable consideration, the receipt and sufficiency of which
is hereby acknowledged, has granted, bargained, sold and conveyed and by these
presents does grant, bargain, sell and convey unto Grantee, its successors and
assigns, an undivided   -----~L.L-                          interest in all the oil, gas
and other minerals, in, or that are a part of, or that may be produced from the Bethel
Formation and other formations and horizons between the top of the Lower Paint Creek
Limestone Formation and the base of the Lower Renault Limestone Formation underlying
the surface of the land described in Exhibit "A" attached hereto and made a part here-
of as if repeated herein at length, reserving unto Grantor, its successors and assigns,
a royalty Interest of one-eighth ( 1 /8) part of all oil which may be produced and saved
                                                    --------=---~~---~=·•~~~'                                                          I

by Grantee from the 'Bethel Formation underlyi-ng~h-e7I:inds described in the attached
Exhibit "A", delivery of such oil to be made to the Grantor at the wells or to the
credit of Grantor ln the pipeline to which any wells may be connected.
         In respect to the royalty Interest reserved by the Grantor, it is expressly
understood that the Grantee shall not be required or under any covenant or obliga-
tion, either express or implied, to drill or operate said Bethel Formation for the pro-
duction of oil and that all drilling operations and development for oil in said Bethel
Formation, before and after discovery. shall be solely at the Grantee's option and
election.
         If Grantor owns a less interest in the land covered by this conveyance than
the entire undivided fee simple mineral estate therein, then whether or not such less
interest is referred to or described herein the royalty reserved herein shall be con-
sidered as being reserved only in the proportion which Grantor's mineral Interest
                                                                                                                                                                                           '!I
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 • b e a r ~ t 2 : : and undivided mineral fee.-
           TO HAVE AND TO HOLD the property, rights, interest and privileges des-
   cribed in this Section 1. together with all and singular, the rights and appurten-
                                                                                         ¥Mir
                                                                                       /~~

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  Section 11 EJ!NDERGROUNO GAS STORAGE LEASE AGREEMENT~
                                                                              A~N61d~hJ
                                                                                                             V
           2. 1     Cirantor. for and In consideration of the sum of _ _ _ _ _ _ _ _ __
    2',,rN ¢      - - - - - - - - - - ~ D Dollars ($ / 0 o_!!            ) , cash In hand
  paid and other good and valuable considerations, the receipt and sufficiency of which
  ls hereby acknowledged, hereby grants, demises, leases and lets exclusively. unto
  the Grantee the exclusive right~ privilege, and easement for a term of on~ 1) yearr
  from the date hereof and as Jong thereafter as the annual rentals provided for by
  paragraph 2. 2 hereof are paid as hereinafter provided for, to inject and store gas in,
  and withdraw and remove gas from the Bethel Formation and other formations and
  horizons between the top of the Lower Paint Creek Limestone Formation and the base
  of the Lower Renault attached her-eto, ( which formations underlying the surface of
  said land are hereinafter called "Storage Reservoir") together with all rights incident
  to said injection and storage and withdrawal and removal, including without limitation,
  the following:
           (a)      The right to store gas in the Storage Reservoir and retain possession,
  ownership and title of gas so stored as personal property;
          Cb)        D    I !Jill Lb di ii J lllJIBIIJ      p •t                                 111   ;q
                     from time to time, such wells, pipelines, gas transmission lines,
  casing, drips, valves, structures and other related equipment, appliances and appurt-
  enances as Grantee may deem desirable, utilizing the sur-face of the lands desc1·ibed

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 .,. ·mt r iliiii. •
          Cc)     The right to have Ingress and egress to, from and across the land
  described In Exhibit "A", and the Storage Reservoir .. and to enter upon and across
  the surface of the land described in Exhibit ''A" at any time by means of existing
  roads, together with the right to construct and maintain roads for the purpose of
  Ingress and egress for Grantee's operation of the Storage Reservoir. The location of
  any new roads constructed pursuant to this paragr-aph shall be subject to Grantors
  approval.
          (d)      The right to remove from the land described In Exhibit "A" all pro-
  perty placed In and on the same by Grantee, including well casings; and to do and
  perform such other acts and things as may be necessary. usual or convenient for any
  and all of the foregoing purposes or as a part of and in connection with the storage
  of gas in the Storage Reservoir under-lying the lands described In Exhibit "A 11 alone
  or conjointly with other lands in the vicinity thereof.
           2.2     The Grantee shall pay to Grantor the sum of _ _ _ _ _ _ _ _ _ __
    z;;;,,eE~ A ~ - - - - - ~ •        Dollars ($     ..?~"°              ) , per year,
  payable annually, commencing one ( 1) year from the date hereof, as rental for the
  rights granted to the Grantee by Section 11 hereof. The Grantee may release and
  surrender the rights granted by Section 1 t hereof at any time by written instru-
  ment duly recorded In the Office of the Hopkins County Court Cler; and in the
  event of such release and surrender, the Grantee shall have the right to remove




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its equipment from the land ctescribed In Exhibit t1A either before/or within ninety                             11
                                                                                                                                                     / '




(90) days after such release and surrender is made as herein prorided.
        2. 3    The Grantee shall pay the Grantor the sum of
             //         ;.J#   ,#9/                -:7   11•
  ~,<'€€~4'.r.2> .,...,_ -            Dollars ($  .c,'00 =--        ) per year for
the first well and
                                /,1P•

                        ~ : C ! , ""1~                                       ~                                                                                         ....
Dollars ($      ~ O eJt             ) per year for each additional well that may be
drilled or maintained by the Grantee on the lands described in Exhibit "A" in con
nectlon with the storage of gas.
         2.11 •   The Grantee shall pay the Grantor for all pipelines and gas trans-
mission lines constn.i'cted hereafter on the land described In Exhibit 11 A", for the
purpose of introduch1g gas into, storing gas in, or removing gas from the Storage
Reservoir beneath the lands described in Exhibit "A", at the rate of One Dollar
($1'~00) per rod.
         2. 5     The Grantee shall pay the Grantor for damage caused by its operations
to growing crops, fences and timber on the lands described in Exhibit A".
         2. 6     (a)     All payments provided for· by this ·section 11 may be made by
currency, draft, or check mailed direct to the Grantor at
                                                                                                                                                  ____.,¢;..:....;;;_::Z__._Y,_5"--/------·
                                         ~::;..,;..P"--.X.'---'-/_7;;...;...t:-__.._._~~""'"";.;:;~;...;;L:S;;...__o_~_v._'/_"-_L_E_,.....K"C-....,.y
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or to the
                     ----------------'---------------------Bank at
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for the deposit to the credit of the Grantor, which bank or its successors Is hereby
designated the Grantor's agent and shall continue as a depository for an rentals and
payments hereunder regardless of any change of ownership in the land described In
Exhibit "A".    In the event said depository bank should fail or refuse to accept tenders
made hereunder, or If it should close without a successor, or If the Grantee shall be
In doubt as to the payees entitled to receive such payments, Grantee may withhold
payments with the same effect as If tendered, until the Grantee has received written
Instructions, executed and accepted by all persons ap_pearlng to the Grantee to be
interested, naming a new depository or specifying the payees and their respective
Interests. In the event Grantee should be in doubt as to the payees entitled to the
payments hereinabove mentioned, Grantee shall give Grantor written notice specifying
the reason for such doubt. The notice shall be mailed to the Grantor at Grantor's
last known address, and shall inform Grantor of the other parties appearing to the
Grantee to be interested, and the Grantor shall then furnish the Grantee proof of
the real parties in interest.
                         Notwithstanding the provisions of paragraph 2.6 (b) and 2.7,
Grantee shall° have the right to withhold payments provided for by this Section 11
until the Grantor furnishes the Grantee with proof, satisfactory to the Grantee, of
the real parties In interest.
                  (b)     Failure of the Grantee to make annual payments provided for
by paragraphs 2.2 and 2.3 hereof shall not invalidate the rights granted by this
Section 11 unless and until Grantee fails to make such payments within thirty (30)
days after having received a written request from the Grantor.       In such requests,
Grantor shall set forth a description of the real estate involved, the due date of the
 rental, the amount thereof, and the date of this Instrument. Nothing in this para-
graph 2.6 nor in this instrument shall require the Grantee to use or to continue to
 use the Storage Reservoir described herein.
          2. 7    If at any time there be as many as four ( q) parties enti tied to
 rentals or other payments, Crantee may withhold payments thereof unless and until
 all parties designate, in wrltin·g, In a recordable instrument to be filed with the



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      • (r/'\                          ,.                               ..A /
  Crantee, a c~on agent to receive all payments due hereunder and to execute
  dlvlslon and transfer orders on behalf of said parties and their respective success-
  ors In title.
           2. 8    If the Gran tor owm. a less Interest In the land described in ,Exhibit
  "A" than the entire and undivided fee simple surface estate therein, then the rentals
  and other payments or deliveries provided in Section 11 hereof shall be paid or deli-
  vered to the Grantor only In the proportion which the Grantor's interest ln the sur-
  face bears to the whole and undivided surface fee.
           2 .9    The Crantor shall have the right to use gas, free of cost, for dom-
  estic appliances inside one dwelling house located on the land covered by this agree-
  ment, subject to and with the following specific understanding as regards said use:
                   (a)    The Grantor shall construct and maintain its own service line
  and regulator or regulators in such a manner as to prevent leakage of gas and shall
  use only appliances, regulators, and other equipment including pipe, designed and
  approved for the use of natural gas.
                   (b)    The tap or connection may be made to the field pipelines of the
  Grantee located on the land described In Exhibit ~'A" at a point to be approved by
  the Grantee; however, If none of the Grantee's field pipelines are located on said
  land, Crantor may have a connection on other field pipelines of the Grantee as pro-
  vided above, provided, however, that the Grantor shall acquire and maintain his own
  easement and permit and show satisfactory proof of such right to the Grantee.
                   (c)     No connection shall be made to the Grantee's transmission pipe-
  lines.
                   (d)     The Grantee shall not be liable for any shortage or failure in
  the supply of gas for the Grantor's use.     If the Grantee shall hereafter discontinue
  for any reason the use of the said Storage Reservoir or remove any of Its field pipe-
  lines and equipment from said field to which Grantor has a service line connected,
  the Grantor's right to use gas as aforesaid shall terminate. Further, if the Grantee
  shall abandon, remove, or discontinue the use of any pipeline to which the_ Grantor
  may have a connection, the Grantee shall not be held responsible for the making of a
  new connection. The Grantor hereby specifically consents that the Grantee may .at
  any time remove its pipeline or pipelines, and immediately thereupon the right to use
  gas, as set out in this paragraph 2.9, shall terminate, provided however, that should
  gas be available from another field plpellne located within the confines of the storage
  fleld, the Crantor shall have the right of connection as agreed above.

                   (e)     The Grantee shall not be liable in any way for damages or
  loss which may occur as a result of acts of the Grantor, which are caused by equip-
  ment or appliances of the Crantor, it being understood the Grantor's use of s\ld gas
  shall be at its sole risk and expense.                                           '
           2. 10   Grantee shall bury its pipelines ,below plow depth.
           2.11    No well shall be drilled nearer than two hundred feet (200:J to any
  dwelling house or barn on the land described In Exhibit "A", without the )!lrltten
  consent of the owner thereof.
           2. 12   The Gran tor reserves the right to drill hereafter a well or wells
  through the Storage Reservoir; however, in connection with any such drilling the
  Grantor, his heirs, assigns, or lessees, shall notify the Grantee before the comm-
  encement of any such well, and all reasonable precautions, and ordinary care, shall
  be exercised, Including the use of rotary drilling methods and the use of heavy mud,
  to protect the said Storage Reservoir from blowout or loss of gas during the drilling


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of any such wells; and upon completion of such drilling, such well or wells shall
be properly sealed, whether producing or not, by cementing to prevent loss of
gas or reservoir fluids from or the encroachment of water into the Storage Reser-
voir, and the Storage Reservoir ~hail. not be ·d~-~aged during such drilling, or
thereafter during any completion, production, or well stimulation operations, and
the Grantor shall permit Grantee or Its duly authorized employees or agents, but
at its sole risk and expense, to have access to the derrick floor of all wells which
penetrate said Storage Reservoir for the purpose of observing and inspecting drilling
operations insofar as they relate to the safety of Grantee's operations concerning Its
rights in and to said Storage Reservoir.
         2.13     To use, free of cost, water produced on the land described in
Exhibit "A" for Grantee's operations of its Storage Reservoir, except water from ponds
of Cirantor or wells drilled· by Grantor.
          2.14    The Grantor hereby warrants and agrees to defend the title to the
land described in Exhibit 11 A" and agrees that the Grantee shall have the right at·
any time to redeem for the Crantor, by payment, any mortgage, taxes, or other liens
on said land, in the event of default of payment by the Grantor, and shall be sub-
rogated to the rights of the holder thereof; and Grantor agrees that any such pay-
ments made by the Grantee for the Cirantor shall be deducted from any amounts of
money which may become due the Grantor under the terms of this agreement.
          2.1 S   This agreement shall extend to and be binding upon the heirs, assi-
gns, executors, administrators, and successors of both parties hereto, and either
party may assign, transfer, and convey, either in whole or In part, Its ownership or
 Interest in the land, rights, privileges, and property covered by this agreement; but
 no change In ownership of the land described in Exhibit "A" shall be binding upon
 the Grantee until the instrument conveying title thereto shall have been properly rec-
orded in the County Court Clerk's Office and a certified copy thereof shall have been
 furnished to the Grantee.
          2.16    Any notices or requests herein requested or permitted shall be deemed
 sufficient as to delivery If given In writing, deposited In the United States mails,
 registered, return receipt requested, addressed to the other party hereto as follows:
Grantor:              ~v/"E"   S ✓ ~~ / 7c,    ~J:)/,rPP II/~.£ r_,   ky   ¥2 iL'3 /


Grantee:              Texas Gas Transmission Corporation, P. 0. Box 1160
                      Owensboro, Kentucky 42301

           2.17       All covenants whether expressed or Implied by this agreement shall
be subject to all federal and state laws and to all executive orders, rules or regu-
lations of state and federal authorities. The rights created by this agreement shall
not be terminated In whole or In part, nor Grantee held liable for any failure to per-
form hereunder, If such failure Is due to or is a result of any such law, order, rule
or regulation.
         IN TESTIMONY WHEREOF, witness the signature of the Grantor, this the
date first herelnabove written.




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 STATE OF
 COUNTY OF
            I,                           __4__,_,.,_...✓
                 ---~-=--~---'-'---"-'--_LP           ._o_/4_,,,,_n:_.!'_ _ _ _ _, a Notary Public in and for
 the state and county aforesaid, do hereby certify that this day there appeared

 before me,                /fo.i,£/"er   J, MJ,.t    ('z.V~   c:J'o A,,v,v ~ L




 who produced the foregoing instrument and duly signed and acknowledged the same
 to be      ✓.:;e,--/..e    act for the uses and purposes therein set forth .
                                                                        .,e.P              _£),,,,._
            WITNESS my hand and official seal, this                ,,23-        day of --~-----✓-/._ _ _ __

 19~-




                                                                Notary Pubfic

 My Commission expires:              .,4-v~, 4 /998


 STATE OF _ _ _ _ _ _ _ _ __

 COUNTY OF
             I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _., a Notary Public in and for the

 state and county aforesaid, do hereby certify that this day there appeared before

 me,




  who produced the foregoing instrument and duly signed and acknowledged the same

  to be            act for the uses and purposes therein set forth.
          -----                                      _ _ _ _ day of _ _ _ _ _ _ _ __
             WITNESS my hand and official seal, this

  19_ _
      . _




                                                                  Notary Public

  My Commission expires:


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         SOCIATED                                                                                                                                                                                   08-0527B
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        ENGINEERS, INC.                               SLEY-EAST                                                                                                                                   3/75/2{X1.l
2.740 Nooh Main St. M_ll<llsonvilte, KY 42431                                                                                                                                                   ASSHOWN
 Phone: (270) 821-7732 F!!X'. {270) 821-1789                                                                                                                                                                   GWl:
       www.associated~ineer.s.com
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                                       EX HI BI T     II   A II

                                               to

          Mineral Conveyance and Storage Lease Agreement between
                   6'r.£Z ..,-   J.. U, LL AN!!>                  Jo A.y..v /21£?

  ••Grantor," and Texas Gas Tra"nsmission Corporation,                  11   Grantee," dated
           £p.e.u Z :I, /?sf>7
                                 Land Description
         All that tract or parcel of land located and situated in Hopkins County,
  Kentucky, and described as follows, to wit:




        To Robert J. Hill and Jo Ann Hill, his wife, and the survivor of
        them, by Deed dated June 28, 1961, recorded in Deed Book 273,
        page 1178, Hopkins County Court Clerk's Office, the surface only
        of a tract of land more particularly described as follows:
        A certain tract of land in the Mortons Gap section of Hopkins
        County, Kentucky, beginning at the junction of the County Road
        known as Brackett's Lane and the L & N Railroad right of way at
        a fence post, which point is the Southwest corner of the land of
        which this tract is a part, and also the Southwest corner of the
        tract conveyed in this deed; running thence N 75° 39' E with
        Brackett Lane 290 feet to the Southwest corner of the tract of
        Claud Almon; running thence in a Northwesterly direction with the
        West line of Claud Almon 420 feet to the Northwest corner of the
        Claud Almon tract; running thence in a Southwesterly direction
        290 feet to the L & N R.R. right of w.ay; running thence with
        the L & N R.R. right of way S 30° 09 1 E, 420 feet to the point
        of beginning.




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  lt is intended to include in the foregoing description all lands and interest there-
  In contiguous to or appurtenant to the above-described lands owned or claimed
  by the Grantor, regardless of any omissions or irregularities In the foregoing
  description.




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